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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
                                   EASTERN DIVISION

JOHN MARSHALL,                        )
an individual,                        )
                                      )
             Plaintiff,               )
                                      )              Case No.:
vs.                                   )
                                      )
MAYFLOWER EMERALD                     )
SQUARE, LLC,                          )
a Delaware Limited Liability Company, )
                                      )
             Defendant.               )
____________________________________/

                                         COMPLAINT

       Plaintiff, JOHN MARSHALL, through his undersigned counsel, hereby files this Complaint

and sues MAYFLOWER EMERALD SQUARE, LLC., a Delaware Limited Liability Company, for

damages, declaratory and injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C. § 12181

et seq., (“AMERICANS WITH DISABILITIES ACT” or “ADA”), and alleges:

                               JURISDICTION AND PARTIES

1.     This is an action for damages, declaratory and injunctive relief pursuant to Title III of the

       Americans With Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter referred to as the

       “ADA”). This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and

       1343, and pendant and supplemental jurisdiction over state law claims that are alleged herein

       pursuant to 42 U.S.C. § 1367, et seq.

2.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

3.     Plaintiff, JOHN MARSHALL, (hereinafter referred to as “MR. MARSHALL”), is a resident


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      of the State of Massachusetts.

4.    MR. MARSHALL suffers from severe diabetes and vascular disease and has had to undergo

      multiple surgeries on his leg, including a partial amputation, which causes him to be confined

      to a wheelchair.

5.    Due to the disability, Plaintiff is substantially impaired in several major life activities and

      requires a wheelchair for mobility.

6.    Upon information and belief, Defendant, MAYFLOWER EMERALD SQUARE, LLC.,

      (hereinafter referred to as “MAYFLOWER”or “Defendant”), is the owner, lessee and/or

      operator of the real property and improvements which is the subject of this action, to wit:

      “Emerald Square Mall” (hereinafter referred to as the “Property,”) located generally at 999

      South Washington Street, North Attleboro, Massachusetts 02760.

7.    All events giving rise to this lawsuit occurred in the District of Massachusetts.

                     COUNT I - VIOLATION OF TITLE III OF THE
                       AMERICANS WITH DISABILITIES ACT

8.    Plaintiff realleges and reavers the foregoing paragraphs as if they were expressly restated

      herein.

9.    The Property is a place of public accommodation and is subject to the ADA.

10.   MR. MARSHALL has visited the Property numerous times.

11.   However, during these visits, MR. MARSHALL experienced serious difficulty accessing the

      goods and utilizing the services therein due to the architectural barriers discussed in this

      Complaint.

12.   Due to these barriers, MR. MARSHALL was denied and continues to be denied the full and

      equal enjoyment of the goods and services offered at the Property.

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13.   MR. MARSHALL continues to desire to visit the Property, but continues to encounter

      serious difficulty due to the barriers discussed herein, which still exist.

14.   MR. MARSHALL intends to and will visit the Property to utilize the goods and services in

      the future, but fears that he will face the same barriers to access as discussed herein.

15.   Defendant is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et seq. and is

      discriminating against the Plaintiff due to, but not limited to, its failure to provide and/or

      correct, the architectural barriers to access below, which were personally observed and/or

      encountered by and hindered the Plaintiff’s access:

             A.      Plaintiff encountered inaccessible routes between the parking areas and the

                     store entrances throughout the Property due to excessive slopes and cross

                     slopes and lack of proper handrails;

             B.      Plaintiff observed inaccessible parking throughout the Property, including

                     within the garage parking and the exterior lots, due to excessive slopes and

                     pavement in a state of disrepair within the parking spaces designated for

                     disabled use and their accompanying access aisles;

             C.      Plaintiff encountered inaccessible curb cuts throughout the Property due to

                     excessive slopes, side flares, and failure to create a smooth transition,

                     creating a safety hazard for wheelchair users;

             D.      Plaintiff encountered inaccessible sidewalks throughout the Property due to

                     excessive slopes and cross slopes and lack of proper handrails;

             E.      Plaintiff encountered inaccessible store entrances due to excessive changes

                     in level at door thresholds and failure to provide level landings; and


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              F.      Plaintiff encountered difficulty navigating around the interior of Property due

                      to ramps with excessive slopes and lack of proper handrails.

16.   Furthermore, the Defendant continues to discriminate against the Plaintiff, and by failing to

      make reasonable modifications in policies, practices or procedures, when such modifications

      are necessary to afford all offered goods, services, facilities, privileges, advantages or

      accommodations to individuals with disabilities; and by failing to take such efforts that may

      be necessary to ensure that no individual with a disability is excluded, denied services,

      segregated or otherwise treated differently than other individuals because of the absence of

      auxiliary aids and services.

17.   To date, the readily achievable barriers and other violations of the ADA still exist and have

      not been remedied or altered in such a way as to effectuate compliance with the provisions

      of the ADA.

18.   Removal of the barriers to access located on the Property is readily achievable, reasonably

      feasible and easily accomplishable without placing an undue burden on the Defendant.

19.   Removal of the barriers to access located on the Property would allow Plaintiff to fully

      utilize the goods and services located therein.

20.   Independent of his intent to return as a patron of the Property, Plaintiff additionally intends

      to return to the Property as an ADA tester to determine whether the barriers to access stated

      herein have been remedied.

21.   The Plaintiff has been obligated to retain the undersigned counsel for the filing and

      prosecution of this action. Plaintiff is entitled to have his reasonable attorney’s fees, costs,

      and expenses paid by Defendant pursuant to 42 U.S.C. § 12205.


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       WHEREFORE, the Plaintiff demands judgment against Defendant, and requests the

following injunctive and declaratory relief:

               A.      That the Court declares that the Property owned, leased and/or

                       operated by Defendant is in violation of the ADA;

               B.      That the Court enter an Order directing Defendant to alter the

                       Property to make it accessible to and useable by individuals with

                       disabilities to the full extent required by Title III of the ADA;

               C.      That the Court enter an Order directing Defendant to evaluate and

                       neutralize its policies and procedures towards persons with

                       disabilities for such reasonable time so as to allow to undertake and

                       complete corrective procedures.

               D.      That the Court award reasonable attorney’s fees, costs (including

                       expert fees), and other expenses of suit, to the Plaintiff; and

               E.      That the Court award such other and further relief as it deems

                       necessary, just and proper.

Dated: August 28, 2012



                                               Respectfully submitted,

                                               KU & MUSSMAN, P.A.
                                               Attorneys for Plaintiff
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                                      By:      /s/ Ashley D. Forest
                                               Attorney for Plaintiff

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